                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


UNITED STATES OF AMERICA,                             )
                                                      )
               Plaintiff,                             )
                                                      )
v.                                                    )       No. 3:06-CR-100
                                                      )       (PHILLIPS/GUYTON)
MELVIN SKINNER,                                       )
SAMUEL SKINNER, and                                   )
FRANK LOGAN ASBURY,                                   )
                                                      )
               Defendants.                            )


                               MEMORANDUM AND ORDER

               All pretrial motions in this case have been referred to the undersigned pursuant to 28

U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the District

Court as may be appropriate. This matter came before the Court on February 13, 2007, for a hearing

on all pending motions. David Jennings and Hugh Ward, Assistant United States Attorneys, were

present for the government. Attorneys Ralph Harwell and Tracy Smith were present representing

Defendant Melvin Skinner, and Attorney Michael McGovern was present representing Defendant

Samuel Skinner. Defendants Melvin Skinner and Samuel Skinner were also present.

               At the outset of the hearing, the parties agreed that certain motions could be

determined on their pleadings: Defendant Melvin Skinner’s Motion for Pretrial Notice of

Government’s Intent to Use 404(b) - Type Evidence [Doc. 31], Defendant Melvin Skinner’s Motion

for Pretrial Notice of Government’s Intent to Use Evidence [Doc. 32], and Defendant Melvin




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Skinner’s Motion for Pretrial Hearing to Determine the Admissibility of Videotape [Doc. 33].1

               Defendant Melvin Skinner moves for pretrial notice of the Government’s intent to

use Rule 404(b) evidence. [Doc. 31]. In its response, the Government alleges that the materials

requested are covered by the Scheduling Order [Doc. 10], and the Government agrees to abide by

said order. [Doc. 38]. Rule 404(b) of the Federal Rules of Criminal Procedure provides that upon

the defendant’s request, the government “shall provide reasonable notice in advance of trial, or

during trial if the court excuses pretrial notice for good cause shown, of the general nature of any

such evidence it intends to introduce at trial.” Fed. R. Evid. 404(b). This Court’s Order on

Discovery and Scheduling states that “reasonable notice” under Rule 404(b) is deemed to be seven

calendar days before trial unless the Court orders otherwise. [Doc. 10, ¶ I]. Defense counsel cited

no compelling need for an earlier disclosure, and the Court finds no reason to disturb the seven-day

time frame provided in the Order on Discovery and Scheduling, with which the Government agreed

to comply.    Accordingly, Defendant Melvin Skinner’s Motion for Pretrial Notice of the

Government’s Intent to Use 404(b)-Type Evidence [Doc. 31] is DENIED in light of the fact that the

Order on Scheduling and Discovery adequately provides for pretrial notice of the government’s

intention to introduce 404(b) evidence.

               Defendant Melvin Skinner moves for pretrial notice of the Government’s intent to

use evidence, pursuant to Rules 12(b)(4)(B) and 12(b)(3)(C) of the Federal Rules of Criminal

Procedure. [Doc. 32]. In its response, the Government alleges that the materials requested are

covered by the Scheduling Order [Doc. 10], and the Government agrees to abide by said order.



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       Samuel Skinner joined in Defendant Melvin Skinner’s Motion for Pretrial Hearing to
Determine the Admissibility of the videotape [Docs. 45-2, 47].

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[Doc. 38]. Rule 12(b)(4)(B) and Rule 12(b)(3)(C) require the Government, upon request of a

defendant, to give notice to the defendant of the Government’s intent to use certain evidence at trial.

The rules are limited in scope. By their own terms, they are limited to evidence a defendant is

entitled to discover under Rule 16 of the Federal Rules of Criminal Procedure. The Scheduling

Order provides for the defendants to receive discovery within the purview of Rule 16. [Doc. 10].

The Government has stated that it will abide by the rules of evidence and the provisions of the

Scheduling Order. [Doc. 38]. Accordingly, Defendant Melvin Skinner’s Motion for Pretrial Notice

of the Government’s Intent to Use Evidence [Doc. 32] is DENIED in light of the fact that the Order

on Scheduling and Discovery adequately provides for access to Rule 16 discovery.

               Defendants moved for a pretrial hearing to determine the admissibility of a videotape,

based upon the alleged inaudibility of portions of the tape. [Doc. 33]. In its response, the

Government stated that it would consult with Defendants prior to trial and determine any audibility

issues. [Doc. 38]. At the hearing, Defendants and the Government informed the Court that they

have conferred and will attempt to agree on a transcript of the tape. Such an agreement will

eliminate the need for an order from this Court on this motion. The parties were instructed to inform

the Court whether an agreement is reached. Until further notice, this motion [Doc. 33] will be held

in abeyance.

               Accordingly, it is ORDERED:

               1.      Defendant Melvin Skinner’s Motion for Pretrial Notice of
                       Government’s Intent to Use 404(b) - Type Evidence [Doc.
                       31] is DENIED;

               2.      Defendant Melvin Skinner’s Motion for Pretrial Notice of
                       Government’s Intent to Use Evidence [Doc. 32] is DENIED;
                       and


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            3.    Defendants’ Motion for Pretrial Hearing to Determine the
                  Admissibility of Videotape [Doc. 33] is held in abeyance.

            IT IS SO ORDERED.

                                       ENTER:



                                             s/ H. Bruce Guyton
                                       United States Magistrate Judge




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